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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA


                                          :
Lamplighter Village Apartments LLLP, 1023 :
Grand Avenue LLC, 1708 and 1712 Grand :
Avenue LLC, 1947 Grand Avenue LLC, 231 :
Dayton Avenue LLC, 707 and 711 Grand :
Avenue LLC, Alton-HRG, LLC, Alton-NFLP, :
LLC, Alton-SHN, LLC, Highland Ridge, :
LLLP, Lucas Goring, Madison LLC, :
Minnehaha Avenue Apartments, LLC, Oaks :
Union Depot LLC, Oxford Apartments LLC, :
Plaza, LLLP, Rockwood Place, LP, :
Wellington-NFLP, LLC, Wellington-PFP, :
LLC, Wellington-SHN, LLC, Woodstone :
Limited Partnership, and Yea Thao,        :
                                          :
                          Plaintiffs,     :   CIVIL ACTION NO. ______
                                          :
      v.                                  :   DECLARATION OF LEANNA
                                          :   STEFANIAK IN SUPPORT OF
CITY OF ST. PAUL,                         :   MOTION FOR PRELIMINARY
                                          :   INJUNCTION
                          Defendant.      :
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      I, Leama Stefaniak, hereby declare as follows:

       1.      I am the Chief Real Estate Officer and General Counsel of At Home

Apartments, L.L.C. ("At Home Aparments").

       2.     At Home Apartments is the management company for plaintiff Minnehaha

Avenue Apartments, LLC ("Mirmehaha").

       3.     Mirmehalia is a Minnesota limited liability company that owns nine (9)

residential dwelling units and one (1) commercial unit located at 1522 Grand Avenue in

St. Paul, Mirmesota.

       4.     I, along with other At Home Apartments personnel, am responsible for

screening potential tenants who seek to rent a Minnehaha residential unit.

       5.     Leasing Minnehaha's property is an act that comes with serious risks. It

involves giving up much of Mirmehalia's own interest in its property and grants a tenant

the exclusive right to possess its property during the term of the tenancy.

       6.     A tenant who is in exclusive possession of Mirmehaha's property may

significantly damage the premises, which is time-consuming and expensive to remediate.

The costs of remediating this damage often far exceed the amount of any security deposits.

Tenants may also be unstable, dishonest, or disruptive, and they may pose a danger to the

personal safety of other tenants and management or building maintenance staff and disrupt

other tenants' quiet enjoyment of the property.

       7.     A proceeding to evict this type of tenant can be time consuming and

extremely costly. While we handle some evictions in-house, others may require engaging

outside legal counsel, given the nature of a lease and rights afforded residential tenants.

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An eviction of one tenant can cost several thousand dollars in costs and fees, not including

the time and attention necessary to see the process through.

       8,      In my experience, tenants remain in the property while the eviction case is

pending, causing unpaid rents to continue to mount, along with the possibility of further

damage to the premises during the eviction process. The owner rarely recovers unpaid

rents or reimbursement of damage caused to the property. It is generally extremely difficult

to satisfy ajudgment against an evicted tenant.

       9.      At Home Apartments and Minnehaha also have a duty to address and prevent

instances of disruptive criminal and nuisance conduct in Mirmehaha' s rental properties.

       10.     At Home Apartments therefore takes great care to create and implement

screening policies and procedures to limit these risks and ensure that it is excluding those

individuals who will not uphold a safe, comfortable, and crime-free living envirorment in

Mirmehcha' s property.

       11.     At Home Apartments utilizes predictive factors that are objectively applied

to qualify potential tenants.

       12.     Specifically, we look at an applicant's criminal background check, credit

report, rental history, and income to determine whether that applicant is likely to be a

successful tenant for Mirmehalia' s property.

       13.     As an owner of residential dwelling units in st. Paul, Mimehaha is subject

to St. Paul Ordinance 20-14 (the "Ordinance").




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       14.     The ordinance will change the way At Home Apartments screens applicants

on behalf of Mirmehaha in several critical respects, and we are extremely concerned about

how those changes will affect Minnehaha' s rental property and its business.

       15.     As noted above, At Home Apartments runs a criminal background check on

all applicants to locate any prior criminal convictions the applicant may have.

       16.     Curently, if a criminal background check shows that an applicant was

convicted of a crime, we evaluate the severity of the crine, the aniount of time since the

crime occured, and the history of recidivism, including whether the applicant committed

multiple lower level crimes in a short period of time, to determine whether to rent to that

applicant. We look specifically for criminal convictions involving a threat of violence to

a person or property, such as domestic abuse or assault.       We reject applicants with a

criminal record inconsistent with this screening criteria.

       17.     Based on our experience, we believe that prior criminal conduct can be

predictive of disruptive conduct or the lack of stability necessary to meet ongoing lease

obligations.

       18.     Rejections are made out of concern for the safety of other tenants and

employees, and because a criminal record is an indicator of the likelihood of lease

compliance -safe and quiet enjoyment of the premises, taking care of the leased premises,

timely payment of rent, and allowing other tenants to enjoy their units and cormon spaces.

       19.     Under the ordinance, we will have to change those set guidelines to allow

for approvals of applicants who have committed serious crimes and often been recently

incarcerated for those crimes.

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       20.    For example, we will be forced to rent to an applicant who was convicted of

a felony for a serious offense against a person, such as homicide, manslaughter,

kidnapping, or assault, so long as that individual was sentenced (a date that is not clear

from reading the Ordinance) for that crime more than ten ( 10) years prior to the application,

even if that applicant was only recently released from prison.

       21.     By way of another example, we will be forced to rent to an applicant who

was convicted of a felony for rape, so long as that individual was sentenced for that crime

more than seven (7) years prior to the application, even if that applicant was only recently

released from prison.

       22.     We will also be required to rent to an applicant who was convicted of a

misdemeanor for a sex crime, including sexual assault or prostitution, so long as that

individual was sentenced for that crime more than three (3) years prior to the application.

       23.     Furthermore, we will be required to rent to an applicant who was convicted

of numerous misdemeanors involving violence against a person or property, so long as that

individual was sentenced for all of those misdemeanors more than three (3) years prior to

the application.

       24.     Renting to individuals with these types of serious criminal records is

extremely concerning for At Home Apartments, Mirmehaha, and our employees. It puts

our other tenants and our employees in danger and makes it more difficult for us to prevent

the commission of crimes or other concerning behaviors on Mirmehaha' s property.

       25.     We also run a credit history report on applicants. We obtain a credit report

from a third-party agency that includes results predictive of consuners' likelihood of

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defaulting on their obligations and rely on that report in our overall evaluation of the

applicant.

       26.     Under the ordinance, we can still run a credit report, but we carmot look to

the applicant's credit score or lack of credit history to make a determination as to whether

that applicant will be able to pay his or her rent.

       27.     We also run a rental history search on applicants to determine whether the

applicant has any prior evictions or anything else on his or her record that would be

concerning to us, such as damaging the premises or posing a threat to other tenants,

management, maintenance, employees, and/or a threat to other tenants ' quiet enjoyment of

their residences.

       28.     We do so because successful prior tenancy is probative offuture success as

a tenant in one of Mirmehaha's units -safe and quiet enjoyment of the premises, taking

care of the leased premises, and timely payment of rent.

       29.     Currently, if an applicant has negative references or a history of evictions on

his or her record, the applicant is denied.

       30.     Under the Ordinance, however, we will no longer be able to reject an

applicant for certain information obtained in the rental history search. If an applicant has

anevictionlessthanthreeyearsoldandtherewasnojudgmentissued,wemustrenttothat

applicant. If an applicant has an eviction more than three years old, we must rent to that

applicant.




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       31.     Finally, we seek information about the applicant's income, as that

information determines whether the applicant would be able to afford the required rent

payment and is often a reason a tenant stops paying rent.

       32.     A risk of leasing is that individuals, on occasion, desire an apartment beyond

their means, cannot control their finances, and/or suffer adverse financial circumstances

during the lease.    In those circumstances, tenants may default or may be repeatedly

delinquent in meeting their lease payments.

       33.     We therefore curently utilize a minimum income test requiring income equal

to two and a half times the rent or higher. If an applicant does not meet this test, the

applicant will be rejected.

       34.     Under the ordinance, however, we must rent to an applicant who does not

meet this test, as long as that applicant can demonstrate a successful payment of rent with

an income less than two and a half times the rent. This puts Mirmehaha at financial risk of

tenants with a lower income not having the ability to pay the required rent.

       35.     Despite the application of carefully-crafted screening criteria, a tenant to

whom we decide to lease may nevertheless fail to meet certain lease obligations.

       36.     In those circumstances, where the lease is aboutto expire, we may choose to

elect our contractual right not to renew the lease, rather than evict the tenant. This option

benefits us because we do not have to undergo the expensive and time-consuming eviction

process and benefits the tenant because the tenant similarly does not have to undergo the

eviction process and will not have an eviction on his or her record when seeking future

housing arrangements.

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         37.       We have routinely opted to non-renew a number of our tenants and have thus

avoided the need to evict those tenants.

         38.       The ordinance will severely hinder our ability to non-renew a lease.

         39.       For example, a tenant may cease paying rent or routinely fail to pay rent on

time. When the lease is close to expiration, we will simply elect not to renew that tenant's

lease.

         40.       Under the Ordinance, however, we will be required to first give the non-

paying tenant notice of non-payment and a chance to cure their deficiency, or institute

eviction proceedings against the tenant.

         41.       Where the tenant routinely pays rent late, we will be required to give the late-

paying tenant notice of late payment and an opportunity to make additional timely

payments. This all comes with no assurances of future timely, full rental payments.

         42.       Tenants may also cause damage to the property, and/or become a nuisance

to other tenants in the property, putting them in material breach of their lease obligations.

Again, when the lease is close to its expiration, we will simply elect not to renew that

tenant' s lease.

         43.       Under the Ordinance, however, we will be required to give the breaching

tenant written notice and an opportunity to cure the breach. We can only seek not to renew

the lease where the tenant continues the same conduct after notice and opporthty to cure.

Again, this comes with no assurances that the tenant will comply with lease obligations

going forward.



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        44.   By way of futher example, we may decide not to renew a lease if the

property at issue needs to be rehabilitated or renovated, which renders the property

uninhabitable during the duration of the rehabilitation or renovation, or if the goverment

orders the building be vacated.

        45.   Under the ordinance, in these circumstances, we will be required to provide

ninety (90) days' written notice to the tenant along with a relocation assistance payment,

in an amount dictated by the City.

        46.   The ordinance completely eviscerates our ability to terminate a lease at the

natural expiration of the leasehold, unless we can meet certain requirements dictated by the

City.

        47.    The cumulative effect of these prohibitions severely cripples our ability to

rent to the applicants to whom we want to rent in order to avoid housing problem tenants

in Minnehaha's property. It forces us to lease to tenants presenting a higher risk to other

tenants, to tenants who may cause damage to Mimehaha's property, and to tenants who

may default on their rent obligations. And, after being required to rent to a problematic

tenant, our ability to non-renew that tenant's lease at our discretion will be completely

eviscerated. We fully expect that these requirements will increase the number of evictions

in our property, as well as those throughout St. Paul.

        48.   In addition, these provisions make it more cumbersome and expensive to

empty buildings for rehab and repair, which makes it less likely that Mirmehaha and other

owners will rehab and repair buildings, even where there is a need to do so. This will

diminish the quality of rental housing stock in St. Paul.

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      49.     At Home Apartments and Mirmehaha are also concerned that the ordinance

will significantly impact Minnehaha' s finances and economic viability.

       50.    On the one hand, we are concerned that compliance with the ordinance will

cause an increase in the costs incurred in renting Minnehaha's property. We believe that

being forced to rent to individuals with a serious criminal history will lead to increased

property damage, which will cost money to fix. Increased costs leads to increased rents

for all tenants across Minnehaha's units.

       51.     In that sane vein, being forced to rent to individuals with poor credit history,

poor rental history, and/or lower income will lead to a higher default rate. A high rate of

default is economically devastating to Minnehaha.

       52.     Moreover, the Ordinance interferes with Mirmehaha's investment-backed

expectations and diminishes the overall economic value of its property.

       53.     Mirmehaha expects to make money on the rental payments from the tenants

to whom the property is rented. It expects to have the ability to select these tenants, on a

non-discriminatory basis, and assess tenants on factors relevant to their ability to cany out

the leasehold requirements.      Those were the expectations Mimehaha had when it

purchased the property.     Taking this right away from Mirmehaha interferes with the

expectations on which Mirmehaha has made its investment in the property.

       54.     Mirmehaha is concerned that if we do not fully comply with the ordinance,

we will be subject to serious penalties, including criminal prosecution. We may also lose

our rental license and be subject to administrative fines, restrictions, or other penalties.




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I declare under penalty of perjury that the foregoing is true and correct.




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